      Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 1 of 31



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION

_______________________________________________
                                                    )
STATE OF TEXAS, ET AL.;                             )
                                                    )
                                      Plaintiffs,   )
                                                    )
v.                                                  )   Case No. 1:18-cv-00068
                                                    )
UNITED STATES OF AMERICA, ET AL.;                   )
                                                    )
                                                    )
                                     Defendants,    )
                                                    )
and                                                 )
                                                    )
KARLA PEREZ ET AL.;                                 )
                                                    )
STATE OF NEW JERSEY,                                )
                                                    )
                          Defendants-Intervenors.   )
                                                    )




               BRIEF OF CHARLES BREITERMAN AS AMICUS CURIAE
                          IN SUPPORT OF PLAINTIFFS'
                      MOTION FOR SUMMARY JUDGMENT
             Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 2 of 31




                                                                     TABLE OF CONTENTS



I. Widely Accepted Research Shows That The Rule of Law is Essential For Economic Growth.
Therefore, An Unconstitutional DACA Program Is Not In the Best Interests of the DACA
Recipients..........................................................................................................................................................................p. 1

II. The Doctrine of Constitutional Avoidance Is Very Weak Here..................................................................p. 2

III. English Cases 1486-1686 Explain the Dispensing Power............................. ............................................p. 5

IV. In the Entire History of the English Monarchy, All the Monarchs Combined Issued 424,020
Dispensations....................................................................................................................................................................p. 7

V. DACA Is A Mass Dispensation Program: It is 3 dispensations for each Dreamer…............................p. 9

VI. How Many Dispensations Have Been Granted Under DACA? 4.5 Million Under Obama;
26 Million Total...............................................................................................................................................................p. 14

VII. The Dispensing Power As It Relates To the U.S. Constitution............................................................p. 16

VIII. The Constitution Vested No Dispensing Power In The President…………....................................p. 19

IX. A Dispensing Power Erodes the Separation of Powers. A Mass Dispensing Power
Destroys The Separation of Powers.......................................................................................................................p. 20

X. Reaching the Constitutional Issue Is Necessary...........................................................................................p. 23

XI. The Reliance Interest Must Yield To the Necessity of Stopping The Monstrous
Unconstitutionality of the DACA Final Rule…………………………………………………………………............p. 24
       Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 3 of 31


                                    TABLE OF AUTHORITIES


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Case of the Penal Statutes (Exchequer Chamber, 1605)………………………………………………...5

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Godden v. Hales (King’s Bench, 1686)…………………………………………………………………..5

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       Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 4 of 31


8 USC §1324a(a) and (b)………………………………………………………………………...10,11,13
8 U.S.C. §1324c(a)(1-4)………………………………………………………………………………...12
18 U.S.C. §1001(a)(3)…………………………………………………………………………………..12
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18 U.S.C. §1001(a)(2)…………………………………………………………………………………..13




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       Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 5 of 31



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Count of Active DACA Recipients By Month of Current DACA Expiration
As of September 30, 2022…………………………………………………..………………………..…23




                                  FRAP Rule 29(a)(4)(E) Statement


        No party’s counsel authored this brief in whole or in part. This counsel was the sole author. No
party or party’s counsel contributed money towards the brief. No person aside from this amicus
contributed money to fund the brief.



                                                                            _/s/Charles Breiterman___
                                                                            Charles Breiterman
     Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 6 of 31




    I.      Widely Accepted Research Shows That The Rule of Law is Essential
            For Economic Growth. Therefore, An Unconstitutional DACA
            Program Is Not In the Best Interests of the DACA Recipients


         A DACA Final Rule that violates statutory law and the Constitution is not in

the best interests of DACA’s recipients. One of the leading analyses of the effect of

the rule of law on economic growth is by Barro and Sala-i-Martin (2004).1 The

authors rank the quality of the nation's rule of law on a 7 rung ladder from 0 to 1

with 1 being perfect rule of law. So the scale is 0, .1667, .33, .5, .667, .833, 1. Zero

is the lowest step on the ladder, and 1 is the highest. The rule of law score can be

any number between 0 and 1. A score like .2 is somewhere between 5th and 6th

lowest rung of the ladder.

         Barro and Sala-i-Martin's statistical analysis finds that each rank higher on

the scale is worth 0.31% of economic growth per year. Any president would prefer

to give a news conference to inform the public that economic growth increased by

2% instead of 1.7%. Moreover, the impact builds over time because economic

growth is computed like compound interest.

         After 20 years, a one-step-of-the-ladder improvement in the rule of law is

worth a cumulative total of 6% in economic growth. After 100 years, 36%. After


1Robert J. Barro and Xavier Sala-i-Martin, Economic Growth, 2nd Edition, Cambridge: MIT Press, 2004 at pp. 526-
   527. This a durable finding of mainstream economics. An article with a confirmatory statistical result is:
   Acemoglu et al., The Colonial Origins of Comparative Development: An Empirical Investigation, NBER
   Working Paper 7771, June 2000. In the June 2000 paper, column 1 of Appendix Table A4d is the location the
   rule of law-economic growth result.

                                                       1
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 7 of 31




233 years, (the number of years from 1789 to 2022) the one rung of the ladder

improvement leads to an 206% larger GDP. The rule of law is a crucial factor

explaining the rise of nations over time.

         It is logical that the converse is true. If a nation loses the quality of its rule of

law by a quantity equal to one rung on the ladder, that would be a hit to economic

growth of 0.31% per year. As will be shown in this brief, DACA is a significantly

corrodes the rule of law. If DACA is allowed to stand, 20 years from now, we

could see our economy 6.3% smaller than it otherwise could have been, after 100

years 36% smaller and so on.

         If we allow our rule of law to decline, will our economy be able to generate

enough jobs for the DACA recipients, legal immigrants and U.S. citizens? A proper

court ruling on DACA is vital to ensuring that the former DACA recipients will be

able to live the life that their parents hoped for them.



   II.      The Doctrine of Constitutional Avoidance Is Very Weak Here


         The DACA case involves a constitutional issue because the Constitution

vested no dispensing power in the executive branch, and dispensing violates the

separation of powers.

         As summarized recently by a federal judge deciding the case States of Texas



                                               2
     Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 8 of 31




and Lousiana,2 the doctrine of constitutional avoidance means, “A federal court

normally does not reach a constitutional question if it can dispose of the case on

another ground.” However, the doctrine of constitutional avoidance is very weak in

the case at bar.

        The judge in States of Texas and Lousiana cited to a Supreme Court

decision, Nw. Austin Mun. Util. Dist. No. One v. Holder,3 which states, “… we are

keenly mindful of our institutional role. We fully appreciate that judging the

constitutionality of an Act of Congress is "the gravest and most delicate duty that

this Court is called on to perform.” (at 205-206).

        But the DACA case is not judging the constitutionality of an Act of

Congress. The dispensation aspect of this case is evaluating the constitutionality of

(first an executive action and now) a Final Rule that undermines perfectly

constitutional Acts of Congress that are codified in Title 8 of the U.S. Code and are

known collectively as the immigration laws. It is the opposite situation of the

Court’s rationale for the constitutional avoidance doctrine, as expressed in Nw

Austin. Nw Austin in turn cites to the Supreme Court case Blodgett v. Holden.4

Therein, Justice Holmes wrote, “Although research has shown and practice has




2 State of Texas and State of Louisiana v. United States of America et al., __ F.Supp. 3d. , 2022 U.S. Dist.
LEXIS 104521, June 10, 2022 at p. 87.
3 557 U.S. 193, 205, 129 S.Ct. 2504, 2513, 174 L.Ed.2d 140 (2009)
4 275 U.S. 142, 147-148, 48 S. Ct. 105, 72 L. Ed. 206, 1928-1 C.B. 324 (1927) (Holmes, J.,concurring).

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     Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 9 of 31




established the futility of the charge that it was a usurpation when this Court

undertook to declare an Act of Congress unconstitutional, I suppose that we all

agree that to do so is the gravest and most delicate duty that this Court is called on

to perform.” at 148-149. Again, in this DACA case, the constitutionality of the

immigration law is not questioned. What is questioned is the constitutionality of a

Final Rule that is undermining the immigration laws.

        Last, the judge quoted from Matal v. Tam,                     U.S. , 137 S. Ct. 1744; 198 L.

Ed. 2d 366, “Indeed, courts “ought not to pass on questions of constitutionality

unless such adjudication is unavoidable.’” at 1764. But Matal is another case that

involved declaring (part of) an Act of Congress unconstitutional. The Court ruled

that a provision of federal trademark law violated the Free Speech Clause of the

First Amendment.

        Finally, an authoritative text explains, “When a court “declares

unconstitutional a legislative act or the action of an elected executive, [the court]

thwarts” the enforcement of an act that presumably reflects the will of the voters.”5

That, at least, contains an additional rationale for the doctrine.

        The DACA case is the opposite of all the above rationales for constitutional

avoidance. The executive is the one thwarting the enforcement of acts of Congress



5 Congressional Research Service, The Doctrine of Constitutional Avoidance: A Legal Overview, September 2,
2014, citing in turn: Alexander M. Bickel, The Least Dangerous Branch: The Supreme Court at the Bar of Politics
(1962) at 129-130.

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 10 of 31




and the court, by reaching the constitutional question, would be upholding the

enforcement of the acts. The doctrine of constitutional avoidance is at its strongest

when a court is asked to void an act of Congress that has been duly signed into law

by a president. There, the court would be ruling against the action of two co-equal

branches. In contrast, here, constitutional avoidance doctrine is at a weak point. A

court, by voiding the Final Rule in its entirety, would be upholding duly enacted

laws, the product of agreement between two branches, against a single branch, the

executive branch, that is undermining those laws.

           Reaching the constitutional issue is also necessary. But the point can only be

explained near the end of the brief after developing the requisite concepts.



    III.      English Cases 1486-1686 Explain the Dispensing Power



           The dispensing power was one of the English monarchy’s prerogative

powers before the power was abolished by the English Bill of Rights in 1689. The

English judiciary developed dispensing power doctrine in a line of cases from 1486

to 1686.6


6 Dispensing power cases included: Case of the Sheriff (Exchequer Chamber, 1486), Distinction Between Malum
   Prohibitum and Malum per Se (1495) [more properly characterized as a Note], Case of the Penal Statutes
   (Exchequer Chamber, 1605), Reported by Sir Edward Coke, 7 th Book of Reports, page 36b and elsewhere,
   Thomas v. Sorrell (King's Bench, 1673), and Godden v. Hales (King’s Bench, 1686). Another dispensation case
   was Darcy v. Allen (1603), a/k/a The Case of Monopolies 11 Co. Rep. 84b, 77 Eng. Rep. 1260. However, the
   accuracy of the report on that case by Sir Edward Coke has been called into question in the article, Jacob Corré,
   The Argument, Decision, and Reports of Darcy v. Allen, 45 Emory L. J. 1261 (1996).

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 11 of 31




         It was de jure lawful for English monarch to set aside statutory law (an Act

that had been passed by the legislature (Parliament) and received royal assent)7 by

issuing a royal document to a person. Once the royal document had been handed

over, for that person, what was once unlawful became lawful Case of the Sheriff

(1486). English monarchs also could issue a dispensation to an organization (a

trade guild) and the dispensation would apply to every member of that

organization. Case of the Penal Statutes (1605).

         In Thomas v. Sorrell (King's Bench, 1673), the King's Bench stated that a

dispensation “makes an action lawful, which without it, had been unlawful.” And,

“For a dispensation is properly to license a person to do a thing which he can do,

but is by law penally prevented from doing it.” Translating the above formulation

to contemporary U.S. legal terms, the key difference between a license and a

dispensation is that a license enables pursuant to statute, while a dispensation

enables contrary to statute.

         The dispensing power works pre hoc to authorize an action contrary to

statute; it is a preauthorization. It is distinct from the pardon power which works

post hoc to relieve the pardon recipient of consequences the act has been

committed.




7 Royal assent was granted to an Act of Parliament by the monarch writing “le roi le veult" (the king wills it), or “la
reine le veult”, and thus it became law.

                                                           6
   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 12 of 31




      In contrast, the suspension power was the power to declare that nobody in

the realm needed follow a specified statutory law. People could behave as if the

law did not exist. The suspension power was usually exercised by means of a royal

proclamation. For example, if there were a statute that read “no hunting is allowed

in the national forest,” a king would be able to proclaim that the law is suspended.

From that point forward, nobody needed to follow that law; nobody needed any

document or permission to hunt in the national forest, anybody could just walk in

and hunt.

      The reason that DACA is not a suspension of the law is because the situation

is not one where DACA recipients can behave as if the immigration law does not

exist. DACA recipients must be entered in the DHS database as such. Their DACA

EAD serves as proof of legal presence and as a work permit. If they encounter ICE

and they are not in the database and/or do not have their EAD, they could be

detained for some time before the agents verify their status. And when DACA

recipients wish to accept a job as an employee, they need their DACA EAD in

order to demonstrate that they are legally authorized to hold a job.



   IV.      In the Entire History of the English Monarchy, All the Monarchs
            Combined Issued 424,020 Dispensations

      In my forthcoming book on DACA, I devote 45 pages to calculating an

estimate of the number of dispensations issued by all the English monarchs in the
                                          7
   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 13 of 31




history of the monarchy. I constructed a purposefully liberal estimate so that maybe

the DACA program’s number of dispensations will not look so bad in comparison

to what the English monarchs were doing.

      Aethelstan, the grandson of Alfred the Great, was the first to achieve the title

of king of all England, in 927 A.D. I researched English legal history and

concluded it was possible that English monarchs were issuing dispensations that

far back. I considered that English monarchs continued issuing dispensations until

the power was formally abolished in the English Bill of Rights of 1689.

      Clearly, the 45 pages of calculations cannot be included here. But I can

supply a representative example- the estimated number of dispensations issued to

English nobles (peers of the realm) for the years 1341-1689. The number of peers

varied over time. In 1341, there were 175. In 1509 there were only 42 because of

killings during the Wars of the Roses. In 1685, there were 244. I used those

numbers and also numbers at other dates for which I could find reliable evidence

of the number of peers at those dates. I assume that each noble held the title for 30

years. Some nobles may have only held the title for a few years, others for 50 years

or more. 30 years seems average. Analysis of the data by results in the estimate that

from 1341-1689 there were distinct 1,230 noble lives, each holding the title for 30

years duration. If each held 5 dispensations, that was 6,150 dispensations.




                                          8
   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 14 of 31




        The result of the calculations yielded a total of 442,020 dispensations issued

by all the English monarchs combined in the entirety of the period that the

monarchy had the dispensing power (927 A.D. – 1689 A.D.).



   V.      DACA Is A Mass Dispensation Program: It is 3 dispensations for
           each Dreamer


        Each grant of DACA is a dispensation. DACA functions as follows: an

executive agency (DHS by its subdivisions ICE and USCIS), which is an arm of

the President, is setting aside statutory law (an Act that has been passed by the

legislature (Congress) and been signed into law by the President) by issuing

official government documents to numerous individuals. Once in possession of the

government documents, for that person, what was once unlawful becomes lawful.

        The lawful presence dispensation works as follows: After a person is

accepted into the DACA program, the person receives a letter welcoming them into

DACA and a government-issued work permit (called an Employment

Authorization Document (EAD). At that point the person is de facto lawfully

present. The statutory provisions at 8 U.S.C. §1182(a)(6) or (7), relating to entry

without inspection or overstaying a visa, are set aside as to that person.

        The ‘action’ is entry without inspection or overstaying a visa- 8 U.S.C.

§1182(a)(6) or (7)- those provisions of the law have no requirement as to age or


                                           9
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 15 of 31




intent.8 DACA makes the action de facto lawful, which without DACA, had been

unlawful, to paraphrase Thomas v. Sorrell. It is de facto because their presence, as

a matter of practical fact, is legal, even though the claim of this brief is that the

program (now regulation) is contrary to statute and unconstitutional.

         Continuing with Sorrell, “For a dispensation is properly to license a person

to do a thing which he can do, but is by law penally prevented from doing it.”9

Prior to DACA the person could be here unlawfully, but was under threat of

deportation, while with the DACA grant, the person effectively has a license to

remain in the United States.10

         Now for the 2nd dispensation issued with every DACA grant. This involves

the employment authorization feature of DACA. In order to hold a job as an

employee, 8 USC §1324a(a) and (b) require that the individual present valid

documents demonstrating that the person is legally authorized to work in the

United States. These statutory requirements are implemented by 8 CFR

274a.2(a)(2) - 274a.12, some 16 pages of regulations. 8 CFR §274a.2(a)(2) states



8 Mitigating circumstances, such as the is a person is a victim of smuggling, are matters to bring up with the
examining officer after the person has been detained. But once the person is enrolled in DACA, none of that matters
because the person is de facto lawfully present and ICE will leave them alone.
9 Zachary Price has called the dispensation a “prospective license.” Zachary Price, Enforcement Discretion and
Executive Duty, 67. Vanderbilt Law Review 671 (2014). In that article, so far as this counsel can ascertain, Zachary
Price never formally identifies a grant of DACA as a dispensation. But he certainly sets up the framework to make
the inference.
10 It is reasonable to object that the DACA recipients were brought here as minors, so they committed no legally
relevant action. However, their situation was considered in the debates and proceedings leading to the passage of the
1996 immigration bill, and since then the DREAM Act has repeatedly failed to pass Congress, so the law is intended
to apply to them.

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 16 of 31




“Form I–9, Employment Eligibility Verification Form, is used in complying with

the requirements of” the immigration statute (Title 8 U.S. Code). That section of

the regulations delineates the contents of the Form I-9. Nearly everybody in the

United States who is a new hire must fill out Form I-9.11

        The Form I-9 guides the employer and employee through the process of

presenting the documents proving the individual is legally authorized to work in

the United States. Page 3 of that form provides a list of acceptable documents.

Crucial for the Dreamers is an “Employment authorization document issued by the

Department of Homeland Security.” That is the EAD. It is a plastic card with the

person’s photo that resembles a driver license or any high security form of

identification.

        Reflecting the requirements of 8 USC §1324a(a)-(b), Form I-9 requires that

the employee attest under penalty of law that the documents are not fraudulent. The

employee must sign the following:

                 I am aware that federal law provides for imprisonment
                 and/or fines for false statements or use of false
                 documents in connection with the completion of this
                 form.




11 Temp workers are hired by the employment agency that sends them on their temp jobs, so the paperwork must be
filled out at the employment agency.

                                                      11
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 17 of 31




If the new employee presented fraudulent documents in order to get past the I-9,

that would be a violation of 8 U.S.C. §1324c(a)(1-4), 18 U.S.C. §1001(a)(3) and

18 U.S.C. §1546(a) and (b). Before the DACA program, to get through the I-9

process, Dreamers knowingly had to present fraudulent documents and therefore,

they were violating the above several provisions of statutory law. which meant they

were committing multiple federal crimes.

        But with the DACA program, the DACA recipient holds an authentic,

genuine EAD issued by DHS. The language of the I-9 form pertains to “false

documents.” Even the plaintiff-states agree that the DACA EAD is a genuine,

government-issued document. So when the DACA recipient is offered a job and

fills out the Form I-9, the individual can present an authentic EAD.

        By reason of the foregoing, each grant of an EAD under DACA transforms

makes an action lawful, which without DACA, would otherwise have been

unlawful (following the wording of Thomas v. Sorrell). The DACA EAD is a

“work permit” in other words, it is a “license,” by which the person is no longer

penally prevented from obtaining a job. “For a dispensation is properly to license a

person to do a thing which he can do, but is by law penally prevented from doing

it.” (Thomas v. Sorrell)12



12 With the benefit of another 300 years, the proper formulation is “a dispensation enables a person to do a
thing which he can do, but is by statutory law prevented from doing it.” A dispensation enables contrary to
law; a license enables pursuant to law.

                                                     12
   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 18 of 31




       Now for the 3rd dispensation that DACA grants. Reflecting the requirements

of 8 USC §1324a(a)-(b), Form I-9 requires that the employee attest that s/he is

legally authorized to work in this country:



               I attest, under penalty of perjury, that I am (check one of
               the following boxes): [the relevant box is...] 4. An
               alien authorized to work


       If the new employee falsely attests that fraudulent documents were genuine,

that would be a violation of 18 U.S.C. §1001(a)(2) and 18 U.S.C. §1546(a) and (b).

Before the DACA program, to get through the I-9 process, Dreamers knowingly

had to make a perjurious attestation that they were legally authorized to work.

Therefore, they were violating the above statutory provisions, which meant they

were committing multiple federal crimes.

       But with the DACA program, the DACA recipient holds an authentic,

genuine EAD issued by DHS. Nobody can blame a DACA recipient for believing

they are 100% authorized to work. The government told them so in official

documents. Therefore, the DACA recipient can truthfully attest to be “An alien

authorized to work.” Thus, each grant of an EAD under DACA makes an action

lawful, which without DACA, would otherwise have been unlawful (after Thomas

v. Sorrell).

       Each grant of DACA results in the recipient having documents (the
                                            13
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 19 of 31




welcoming letter and the work permit) that allows 3 otherwise illegal actions to be

done lawfully: it allows (1) an inadmissible alien to be lawfully present,13 then (2)

to present a document authorizing employment without violating multiple statutes,

as enumerated above, and lastly (3) it allows the attestation that they are “an alien

authorized to work” to be made without violating multiple statutes.

         The material in this brief and this circuit’s earlier decisions in the DACA

litigation shows that DACA sets aside and violates a total of 12 statutory

provisions. So why is each grant of DACA not 12 dispensations instead of “only”

3? Because you count by number of actions made lawful. A dispensation “makes

an action lawful, which without it, had been unlawful,” Thomas v. Sorrell. DACA

makes lawful 3 unlawful actions: being present in the United States, presenting a

work permit, and attesting to be an alien authorized to work.



    VI.      How Many Dispensations Have Been Granted Under DACA? 4.5
             Million Under Obama; 26 Million Total


         Let us start from the beginning with the Obama administration. From 2012-

2016, there were a total of 752,022 initial DACA grants approved. The first



13 When DACA started in 2012, the lawful presence was de facto, then when the 9th circuit ruled on Arizona Dream
Act Coalition v. Arizona in 2014, it became de curia lawful presence in the 9th Circuit, and so on until June of 2020
when the Supreme Court ruled in DHS v. Regents, that gave DACA recipients definitive de curia lawful presence in
the United States. This brief maintains that no matter what the Supreme Court wrote in DHS v. Regents, their
discussion is ignorant of the dispensing power and is therefore wrong- DACA is de jure unlawful and
unconstitutional.

                                                         14
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 20 of 31




renewal grants were made starting in 2014, and from 2014-2016 there were a total

of 587,557 renewal grants of DACA approved. So during the Obama

administration, there were 1,339,579 grants of DACA through September 30 of

2016. Since the Obama administration did not leave office until January 20, 2017, I

calculate the number of DACA grants from June 15, 2012 through the end of 2016,

as 1,528,781.14 We have established that each grant of DACA is 3 dispensations.

That yields 4,586,343 dispensations for the entire Obama administration.

        As this brief has previously explained, all the English monarchs ever granted

424,2020 dispensations. Compare this to the 4.5 million dispensations the Obama

administration granted. In only 4 years, the Obama administration granted 10 times

the number of dispensations that all the English kings and queens combined

granted in the 762 years that the monarchy had the dispensing power.

        Many have claimed that with his DACA program, President Obama acted

like a king. But no English monarch ever had such dispensing power. All the

English monarchs in the entire history of the English monarchy never wielded such

dispensing power. DACA was the edict of an emperor.

        But DACA continued when Obama left office. Adding in the cumulative


14 Number of DACA grants from the “approvals” column of Deferred Action for Childhood Arrivals (DACA)
Quarterly Report (for quarter ending March 31, 2022), USCIS publication, covers the time period Aug. 15, 2012 –
March 31, 2022. Available at USCIS website by going to the following URL and restricting the search filter to
“2021” and “Deferred Action for Childhood Arrivals.” https://www.uscis.gov/tools/reports-and-studies/immigration-
and-citizenship-data. DHS tabulates DACA grants by fiscal year. January 20, 2017, was the day Obama left office
and Trump was inaugurated. DHS was doing about 200,000 total grants per year in 2016, and there is an extra ¼
year to account for (October 1-January 20, 2017), so for total accuracy add 50,000 to 1,528,781

                                                       15
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 21 of 31




numbers for the Trump and Biden administrations, the DHS reports that as of

September 30, 2022, a cumulative total of 1,014,388 initial grants of DACA have

been approved, and 2,672,267 renewal grants have been approved, for a grand total

of 3,686,655 grants.15 That makes over 11 million dispensations, roughly 26 times

the number ever issued by all the English monarchs combined.



    VII. The Dispensing Power As It Relates To the U.S. Constitution



        The ready objection to the entire discussion of DACA as a mass dispensation

program is that the dispensation is a concept from the old law of England that has

no application to the contemporary United States. One answer to this is that Obama

himself opened the door by claiming so many times that he was not a king or

emperor, as enumerated by earlier briefs and documents submitted in this case.

Another answer is that the Supreme Court expressly brought it into American law

in the case Kendall v. United States ex Rel Stokes (1838) when it strongly rejected

the notion that the President, and by extension the executive branch, has the

dispensing power. Another federal case, United States v. Smith (1806) utterly

rejected the idea that the President or executive branch has a dispensing power.




15 Deferred Action for Childhood Arrivals (DACA) Quarterly Report (Fiscal Year 2022, Q4). Currently available at:
https://www.uscis.gov/sites/default/files/document/data/DACA_performancedata_fy2022_qtr4.pdf

                                                       16
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 22 of 31




While that was only a federal district court case, the presiding judge was a

Supreme Court justice riding circuit. It was William Paterson, a participating

member of the Constitutional Convention, appointed to the Court by George

Washington himself.

        The The Supplemental Complaint16 of plaintiff-states insists that:



        76. The Take Care Clause has its roots in the dispute between
        Parliament and King James II, who was overthrown in the Glorious
        Revolution of 1688. Parliament was infuriated at King James’s use of
        his purported power to suspend or dispense with Parliament’s laws.
        As a result, the subsequent monarchs, William and Mary, agreed to the
        English Bill of Rights, which stripped the monarchy of all suspending
        and dispensing authority. See English Bill of Rights of 1689, art. 1.
        77. In light of this historical background, the Framers of the U.S.
        Constitution unanimously rejected a proposal to grant dispensing
        powers to the President.
        78. “[t]he Framers agreed that the executive should have neither
        suspending nor dispensing powers.”17



        Professor Christopher N. May did extensive research on the matter of ¶¶77-

78. He demonstrates that the Framers did expressly reject the suspending power at



16 Supplemental Complaint, ¶76-78 at p. 21 of 43, Document 623, submitted 1/3/23 in Case 1:18-cv-00068.
17 Plaintiff-states citing Texas v. Biden (MPP), 20 F.4th 928, 978-82 (5th Cir. 2021),

                                                      17
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 23 of 31




the Convention.18 However, Professor May never suggests there was any vote or

agreement as to the dispensing power. This author is aware of sporadic quotes from

the writings of the Framers, but nothing approaching an agreement.

        Then there is the claim of ¶76 that the Take Care Clause has its roots in a

late 1680s struggle over that suspending and dispensing powers. If that is so, why

do we have a take care clause 400 years earlier? Britton wrote circa 1275 that the

attorneys, officials, and judges must19



        prendre garde de la quantite et de la qualite de la pleinte



        take care as to the quantity and quality of the complaint



Britton is a comprehensive treatise for attorneys (attourné), the king’s

officials bailiff (baillif), sheriff (viscounte), and judges (justice), mostly on

procedure. The Take Care Clause must have had its roots far earlier.

        Because two of the pillars of the plaintiff-states’ claimed ban on dispensing

are weak, we need an alternative analysis.




18 “On the question 'for giving this suspending power' all the States …. were--no.” Christopher N. May, Presidential
Defiance of “Unconstitutional” Laws, at p. 12 citing Max Farand, Records of the Federal Convention, Volume 2, pp.
103-104.
19 Francis Morgan Nichols, Britton, Volume I, Oxford: Clarendon Press (1865) at Book II, Chapter XXII, §3..

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 24 of 31




    VIII. The Constitution Vested No Dispensing Power In The President



        Dispensing was not considered an executive power at the time of the

Founding. The Vesting Clause (Article II, Section 1, Subsection 1) states, “The

executive Power shall be vested in a President of the United States of America.”

Of the dispensing power, Blackstone (writing circa 1765) stated, “It is true it was

formerly held, that the king might, in many cases, dispense with penal statutes: but

now, by statute 1 W. and M. st. 2, c. 2, [the English Bill of Rights] it is declared

that the suspending or dispensing with laws by regal authority, without consent of

parliament, is illegal.”20 To illustrate the importance of Blackstone to the Framers,

Madison inspirited at the Virginia Ratification Convention, "I will refer you to a

book which is in every man's hand—Blackstone's Commentaries."21 Because the

Federalist Papers (#67-77) went to great lengths to explain that the President would

not have the powers of the King of England, it strains credulity to think that the

Constitution (drafted in 1787) granted the president a prerogative that even the

King of England had not had since 1689.22 Since the executive power was vested




20 Blackstone, Commentaries, Online Library of Liberty, Volume I, at p. 129.
21 Dennis R. Nolan, Sir William Blackstone and the New American Republic: A Study of Intellectual Impact, 51
N.Y.U. L. REV. 731 (1976) at 15 of 42 citing 3 Elliott's Debates 506, June 18, 1788.
22 John Yoo has written “The Framers would not have vested a federal executive modeled on the governor of New
York with a power that had long since been denied to the English king.” I agree with that, and my sentence above
was written before I obtained his book. John Yoo, Defender in Chief: Donald Trump's Fight for Presidential Power,
New York: All Points Books, (2020) at 89.

                                                       19
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 25 of 31




in the President, and since the executive power did not include a dispensing power,

then if the Framers wanted to grant that power, they would have done so expressly,

yet they did not.23

        Moreover, there is no Necessary and Proper Clause in Article II that would

allow the power of the executive to be expanded to include a dispensing power.

Article I has that clause, but not Article II. Article II does have a Necessary and

Expedient Clause (the Recommendation Clause) but that only applies to the

president suggesting (recommending) legislation to Congress during the State of

the Union address.

        But in this case the court need not rule on whether the President has the

power to grant a few dispensations per year, or even a hundred dispensations per

year. This case is about whether the President is vested with the power to grant in

the range of a million dispensations per year- a mass dispensing power.



    IX.      A Dispensing Power Erodes the Separation of Powers. A Mass
             Dispensing Power Destroys The Separation of Powers


        A mass dispensing power allows the president to lacerate any statutory law

with thousands or millions of cuts. Imagine there is a statute, passed by Congress


23 See, Professor Christopher N. May’s discussion of the two competing theories as to the source and scope of
executive power under the Constitution. These are Vesting Clause Theory and Residuum Theory. “Under neither
approach does the executive power embrace a presidential prerogative” to dispense with laws. May, Presidential
Defiance at pp. 18-19.

                                                       20
   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 26 of 31




and signed into law by a president, that all smokestacks must emit no more than 75

parts per billion of sulfur dioxide. With modern printing technology, the president

can issue a dispensation to each of 100 thousand emitters and thereby render the

law a nullity.

      If the executive branch had a dispensing power, it would make the function

of the criminal justice system far more difficult because many criminals would

claim their activity had been approved by some government official or even the

president. It would open up our nation to innumerable scams run by government

officials. A government official could authorize some group of cronies to violate a

law, perhaps a law against the dumping of toxic waste, who must then remit

(kickback) to the official some portion of the money they saved by not needing to

dispose of the waste properly. When the authorities initiate prosecution of the

scheme, the violators would plead innocence on the ground that their activities

were approved by the government.

      Even the power to grant a single dispensation is dangerous. The importation

of Cuban cigars was banned by executive order on February 7, 1962. Because it

was done by executive order, President Obama had the lawful ability to ease that

ban, which he did beginning on January 1, 2015. But imagine that the Cuban cigar

ban was done by statute and was still in full effect on that date. A President Fred

Flintstone could issue a dispensation stating that only Barney Rubble can import


                                          21
    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 27 of 31




Cuban cigars to the United States. The law remains in effect, and only Rubble has a

license to violate it. Rubble becomes a billionaire thanks to the huge demand for

Cuban cigars. In the text of the dispensation, President Flintstone requires 25% of

net revenues to be paid to him. President Flintstone would secure a revenue stream

for himself independent of any congressional appropriation. In fact, the English

monarchs were running analogous schemes with the dispensing power- even the

hallowed Queen Elizabeth I.24 They were granting monopolies on the importation

of Irish yarn, Spanish wool, and playing cards, et cetera, with the same intent and

outcome. The English monarchs were granting dispensations to favored parties,

thus benefiting persons and themselves. With DACA, the Obama administration

granted dispensations to a favored party (DACA recipients) to the benefit of these

persons and to Obama himself in his re-election bid. Inter alia, the Obama

administration formulated the DACA program to generate enthusiasm in a certain

portion of the electorate because certain interest groups had indicated they would

not advocate for his re-election unless he did something on immigration.25




24 See William Hyde Price, The English Patents of Monopoly, Boston: Houghton Mifflin and Company, 1906 pp.
    145-149; and See Darcy v. Allen (11 Coke's King's Bench Reports 84)(1602) (a/k/a The Case of Monopolies).
25 See, Julia Preston, While Seeking Support, Obama Faces a Frustrated Hispanic Electorate, New York Times,
June 10, 2012 and Miriam Jordan, Anatomy of a Deferred-Action Dream, Wall Street Journal, 10/14/2012, “In
an election year in which his future might turn on Hispanic votes,” [the last thing Obama needed was] “young,
illegal immigrants who decided to step out of the shadows” … “agitating, with increasing volume and
sophistication...” See also, Peter Wallsten, President Obama bristles when he is the target of activist tactics he once
used, Washington Post, June 10, 2012. The more informative part of the article begins with: “Tensions mounted …”
The article also adds to coverage of the electoral calculus.

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 28 of 31




    X.       Reaching the Constitutional Issue Is Necessary



         Matal v. Tam stated that the constitutional question must be unavoidable. By

2 federal court orders, new grants of DACA under the original program are

enjoined.26 Despite DACA’s procedural and statutory illegality as found by the

federal district court for the southern district of Texas and by the Fifth Circuit,

these same courts have allowed existing DACA (renewal grants) to continue. These

rulings preserve a monstrously unconstitutional program; they merely prevent it

from getting any larger.

         As of the end of FY 2022 (Sept. 2022) there were 589,660 participants in the

DACA program,27 receiving only renewal grants. 589,660 participants means that

each person gets 3 dispensations every 2 years, which means 1,768,980

dispensations being issued every 2 years, or approximately 884,490 dispensations

every year. Remember, the entire English monarchy only issued 424,020

dispensations. So every year, even after all the litigation over DACA, the

executive branch in this “constitutional republic” is still issuing over twice the

number of dispensations granted by all the English monarchs, ever. This is



26 Texas et. al v. United States et al., 549 F.Supp.3d 572, 2021 U.S. Dist. LEXIS 133114, 2021 WL 3025857, Civil
Action No. 1:18-CV-00068 (2021); State of Texas et al. v. United States et al, 5th Circuit Court of Appeals, Case 21-
40680, decision filed 10/5/2022.
27 Count of Active DACA Recipients By Month of Current DACA Expiration As of September 30, 2022. Available at
https://www.uscis.gov/sites/default/files/document/data/Active_DACA_Recipients_Sept_FY22_qtr4.pdf

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    Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 29 of 31




outrageous and must cease. Therefore, the constitutional issue of the dispensing

power is unavoidable in this case.



    XI.      The Reliance Interest Must Yield To the Necessity of Stopping The
             Monstrous Unconstitutionality of the DACA Final Rule


        Existing DACA has been preserved by the Fifth Circuit because the Supreme

Court has declared that DACA recipients have a reliance interest in their grants.28

But I find no mention of the dispensing power in the Supreme Court’s decision, nor

in any of the briefs, nor in the oral argument transcript. The Supreme Court may

not have been aware of the relevance of the dispensing power. By the concepts

developed in this brief, the decision of the Supreme Court in DHS v. Regents was

wrong. The Final Rule continues the monstrous unconstitutionality of the

American presidency wielding a dispensing power greater than all the English

monarchs combined, ever. The reliance interest of the DACA recipients must yield

to the constitutional issue. What about the reliance interest of 300 million citizens

and tens of millions of legal immigrants on the rule of law? Because of the

importance of the rule of law for economic growth, ending DACA in its entirety is

in the best interest of the DACA recipients as well.



28 DHS v. Regents of the University of California, 140 S.Ct. 1891, U.S. Supreme Court slip opinion (Decided
6/18/2020) at p. 1913 and at pp. 23-26 of the slip opinion.


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   Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 30 of 31




      Moreover, this writer can suggest a way to protect the ability of the DACA

recipients to work for a period of some years if the Final Rule is voided. First, it is

perfectly lawful for DHS to exercise its discretion to refrain from deporting former

DACA recipients on a case-by-case basis as they are encountered in normal

enforcement operations. (The problem is the handing over of a document to an

entire class of persons in violation of the law guaranteeing that they will face no

consequences). Next, the I-9 requirements of the work permit and attestation are

only required to work as a formal “employee.” A Member of an LLC is not legally

an employee of the LLC. DACA recipients can form an LLC with 1 to 3 Members,

and a business wishing to “hire” them will contract with the LCC for the services.

The contracting business pays the LLC. No need to hire anybody as an employee.

The hundreds of companies that have participated in amicus briefs supporting

DACA must step up to pay the expenses to form the LLCs. The DACA recipients

must not mention their status, otherwise the contracting business will “know” they

are not authorized to work and would be required not to contract with that LLC. It

would be a “don’t ask, don’t tell” situation. It appears this temporary arrangement

is something DHS actually does have the discretion to allow.




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Case 1:18-cv-00068 Document 627 Filed on 02/08/23 in TXSD Page 31 of 31
